                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,                     Case No. 22-cv-828
STATE OF INDIANA, STATE OF
IOWA, STATE OF MINNESOTA,                        PLAINTIFF FEDERAL TRADE
STATE OF NEBRASKA, STATE OF                      COMMISSION’S MOTION TO FILE
OREGON, STATE OF TEXAS, and                      PORTIONS OF THE COMPLAINT
STATE OF WISCONSIN,                              TEMPORARILY UNDER SEAL
               Plaintiffs,
        v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION,
LLC, and CORTEVA, INC.,
               Defendants.



       Plaintiff Federal Trade Commission (“FTC”) respectfully moves pursuant to

LR 5.4(c)(1)(a) and LR 5.4(c)(4)(b) to file portions of the Complaint in this action

temporarily under seal for fourteen days.

       The FTC files this motion to comply with its regulations governing the treatment

of confidential information submitted to the FTC in pre-complaint investigations and to

give affected parties the opportunity to consider whether to ask the Court to seal portions

of the Complaint on a permanent basis. The FTC is not the party claiming confidentiality

with respect to information that is the subject of this Motion. The FTC conducted a pre-

Complaint investigation during which it received information from Defendants and third

parties that the producing persons designated as confidential pursuant to federal statute


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and FTC rules. See 15 U.S.C. § 57b-2; 16 C.F.R. § 4.10. Certain information that

Defendants and third parties designated as confidential during the FTC’s investigation

may be disclosed in the Complaint that Plaintiffs filed in this action. FTC regulations

require the FTC to afford persons who submit confidential information “an opportunity to

seek an appropriate protective order” prior to disclosing such information. 16 C.F.R. §

4.10(g). The FTC has, accordingly, filed a redacted version of the Complaint on the

public docket, filed a sealed version of Complaint with the redacted information

highlighted, and filed this Motion to provide an opportunity for Defendants and third

parties whose information is at issue to seek appropriate relief from the Court.

       The information in the Complaint that the FTC requests be temporarily sealed may

disclose the following non-public information as to which Defendants and/or third parties

requested confidential treatment during the FTC’s investigation:

           details about the terms of and strategy underlying the Defendants’ “loyalty”

              programs at issue in this case;

           information derived from Defendants’ and third parties’ revenue, sales, and

              pricing data;

           information about Defendants’ business decisions, strategies, and plans;

           information about third parties’ (including Defendants’ customers and

              competitors) finances and business decisions, strategies, and plans;

           quotations from Defendants’ internal documents about these subjects.




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       The FTC will provide Defendants and third parties whose information is at issue

with notice of their respective information being filed under seal and a copy of any order

the Court enters with respect to this Motion.

       The FTC also intends to schedule a meet and confer among the parties and third

parties whose confidential information is at issue so that a LR 5.5 Report may be filed

within ten days of the date of filing this Motion. See LR 5.4(b)(1)(b).

Dated: September 29, 2022                 Respectfully submitted,


                                          /s/ James H. Weingarten
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FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,                    Case No. 22-cv-828
STATE OF INDIANA, STATE OF
IOWA, STATE OF MINNESOTA,
STATE OF NEBRASKA, STATE OF
OREGON, STATE OF TEXAS, and
STATE OF WISCONSIN,
              Plaintiffs,
       v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION,
LLC, and CORTEVA, INC.,
              Defendants.


                            CERTIFICATE OF SERVICE
      I hereby certify that on September 29, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system and have verified that such filing

was sent electronically using the CM/ECF system, and I hereby certify that the document

will be sent to the following non-CM/ECF participants as indicated:

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